    Case 4:12-cr-00032-MFU       Document 173 Filed 09/08/15          Page 1 of 1 Pageid#:
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    UN ITED STA TES O F A M ER ICA                   C rim inalAction No.4:12-cr-00032

    V.                                               FIN AL O RD ER

    TYR ELL K EO N ISA UN D ER S,                    By: Hon.Jackson L.Kiset                                 .
         Petitioner.                                         SeniorUnited StatesDistrictJùdge

           In accordance with thewritten M emorandum Opinion enteredthisday,itishereby .
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                                  A DJU D G ED and O RD ERE D

    thattheUnited States'motiontodismissisGRANTED;themotiontovacatd setaside,or'
'



    correctsentenceptzrsuantto28U.S.C.j2255isDISM ISSED;acertificateofappealabilityis
    DEN IED ;and the action is STR ICK E N from the active docketofthe court.
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           TheClerk shallsendcopiesofthisOrderandtheaccompanyingMemoranéum Opinfon
    to Petitionerand counselofrecord forthe United States.

           EN TER : This     >      day ofSeptem ber, 2015.

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                                                             Se orUnited StatesD istrictJudge
